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                UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW JERSEY


 GEORGE MCCANTS, an individual, the               Civil Action No. 2:24-cv-05837-
 borrower, and the mortgagor of the real          CCC-JSA
 property incorporated by reference below
 residing in New Jersey,
                                                  NOTICE OF MOTION TO
       Plaintiff,                                 DISMISS PLAINTIFF’S
                                                  COMPLAINT PURSUANT
      vs.                                         TO FEDERAL RULE OF
                                                  CIVIL PROCEDURE 12(b)(1)
 JPMORGAN CHASE & CO., D/B/A                      AND (6)
 JPMORGAN CHASE BANK, NATIONAL
 ASSOCIATION, a Delaware foreign for-             Motion Date: January 21, 2025
 profit business corporation, and assignee of
 the real property situated at 92-94 Tuxedo       DOCUMENT
 Parkway in Newark, with domestic                 ELECTRONICALLY FILED
 incorporation in New Jersey,

       Defendant.


 TO: George McCants
     1254 Clinton Place
     Elizabeth, New Jersey 07298
     Pro Se Plaintiff
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       PLEASE TAKE NOTICE THAT Reed Smith LLP, counsel for Defendant

 JPMorgan Chase Bank, N.A. (“Defendant”), incorrectly sued as JP Morgan Chase

 & Co d/b/a JP Morgan Chase Bank National Association, shall move before the

 Honorable Judge Claire C. Cecchi, U.S.D.J., at the Martin Luther King Building and

 U.S. Courthouse, 50 Walnut Street, Newark, New Jersey 07102, on a Motion to

 Dismiss Plaintiff George McCants’ Complaint pursuant to Federal Rule of Civil

 Procedure 12(b)(1) and (6).

       PLEASE TAKE FURTHER NOTICE that in support of this Motion,

 Defendant shall rely on the Memorandum of Law submitted herewith and the

 Certification of Greyson K. Van Dyke, with exhibits.

       PLEASE TAKE FURTHER NOTICE that a proposed form of Order

 granting Defendant’s Motion to Dismiss is enclosed herewith.



                                             REED SMITH LLP

                                             /s/Greyson K. Van Dyke
                                             Greyson K. Van Dyke
 Dated: December 16, 2024




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